     UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN

                               COURT MINUTES
                                    In-person hearing


HON. William E. Duffin, presiding                       Deputy Clerk: Mary Murawski

DATE: July 23, 2021 at 1:30 p.m.                        Liberty

CASE NO.     21-cr-28                                   Time Called: 1:29

UNITED STATES V. Ashton L. Howard                       Time Concluded: 1:53

PROCEEDING: Bond Review Hearing

UNITED STATES BY:         Benjamin Proctor
PROBATION OFFICER:        Joseph Werner
DEFENDANT:                Ashton L. Howard, on bond and by
ATTORNEY:                 John Campion
________________________________________________________________________________

COURT reviews the Petition from Pretrial and the alleged violations.

GOVT:

      -   Recommend detention.
      -   Was charged with violent attack on police officer.
      -   Back on January 11, evidence supporting those charges and exhibits came from
          cell phones, showing pictures of firearms and brick thrown at officer.
      -   Gave him strict conditions. Failed to comply and gave him every opportunity to
          comply.
      -   He was also admonished by Judge Joseph when he appeared for a hearing.
      -   Defendant was given multiple warnings to comply with the court’s conditions.
          Do not believe he will abide by the conditions imposed by the court.
      -   In a hospital until 7/17 and was released from the hospital

DEFENSE:

      -   Could have been 7/18 when defendant was released from the hospital.




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      -   Defendant is not a complete failure. He has continued to work, lost some jobs,
          there has been no use of drugs.
      -   Defendant moved up here to get away from family problems.
      -   Appeared good fit living with his girlfriend, but that did not work out.
      -   Ms. Cravatta has worked overtime to make her client successful. She had to check
          on job prospects and that killed the job prospects.
      -   Defendant had feelings of hopelessness; he suffers from mental health problems.
      -   Last week he called the hotline and they told him to get to a hospital. He then
          was picked up and taken to St. Luke’s Behavioral unit.
      -   He complied with medications and felt good enough to leave.
      -   Defendant does have good structure/support. No one to look over his shoulder
          and help him to follow through on things.
      -   Continue with medication and follow up on appointment in Kenosha would be
          part of his structure. Had an appointment this a.m.
      -   He did go to his misdemeanor case in Kenosha.
      -   Has a friend that lives with her 2 children and mother who has been trying to help
          him out.
      -   She is an option for him to stay at her residence.
      -   Home detention.
      -   Or released to a hospital.
      -   Follow up and have another hearing Tuesday or Wednesday if court is inclined
          to do that.



PRETRIAL SERVICES OFFICER:

      -   Ms. Cravatta’s position was that he be detained.

COURT has no confidence that defendant will comply with conditions and orders him
detained.




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